  Case 22-00487      Doc 3     Filed 01/15/22 Entered 01/15/22 02:58:26                Desc Main
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                                               Certificate Number: 13858-ILN-CC-036240282


                                                              13858-ILN-CC-036240282




                    CERTIFICATE OF COUNSELING

I CERTIFY that on January 4, 2022, at 11:58 o'clock AM CST, Sabrina Lofton
received from MoneySharp Credit Counseling Inc., an agency approved pursuant
to 11 U.S.C. 111 to provide credit counseling in the Northern District of Illinois,
an individual [or group] briefing that complied with the provisions of 11 U.S.C.
109(h) and 111.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.
This counseling session was conducted by internet.




Date:   January 4, 2022                        By:      /s/Wendel Ruegsegger


                                               Name: Wendel Ruegsegger


                                               Title:   Counselor




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. 109(h) and 521(b).
